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        Dear Judge,

         My name is David Heider. Jason R. Heider is my husband, and as a spouse that
takes his marital vows seriously, I write this letter to plead his case and beg for the
mercy of this court. Jason has from the day we first said "hetlo there", to the days of
"Yes" and "To have and to hold", to the days of "Ashes to ashes", he has been my safe
harbor and gilding light. I have seen him try and fail, and try and fail, and try again, to be
his best and do whatever he needed to do to provide, not just for himself, but for
everyone in his life.
         I will not delude myself, and waste time by saying that Jason is an innocent man,
that he's done nothing wrong. I will not say this is a scenario where no one got hurt. Nor
will I pretend to have even a pebble of moral high ground to stand on, or even rest a toe
on.
        My Husband has always been a wonderful man to me and Susan, A caring father
for his daughter, whom I myself have become quite attached to, and a devoted son to
Pam (though troubled, it has never dulled her sense of love and generosity towards
everyone is her life, past and present). Jason is also, Iike each of us are, a flawed
person who struggled with improper coping skills, which has led to issues with addiction,
and shame.
        Shame has been a staple in the life of the gay man for generations uncounted
and Jason is no exception to this. Our entire childhoods we are told that liking boys is
bad. That it's sinful, unnatural, disgusting. We are told we are sick in the head, that we
are not living a truly meaningful Iife, or are even worthy of living that life. I have been
told that my marriage to him somehow invalidates the marriages of the older
generations, that it's somehow different and works against the work that other couples
have put into theirs. All these examples and more are reality for me, for Jason, and for
gay people around the world and across time, and allthese things and more are what
set the stage for my husband, and continually color his life experiences, his choices,
and how he deats with life and all its happenings. He has always struggled with his inner
demons, but never before did he give into them.
        I asl< not that you absolve him of his crimes, but instead I beg of the court's
mercy. He has always been nothing but a kind, sensitive, understanding, and
hardworking man to everyone in his life, be it with his friends, clients, coworkers, and his
family most of all. This is not a man who is not a danger to others, that much I know
without a dogbt and I believe with my entire being. The months while he was out on bail,
he worked hard to keep life as norma! as he could for me and his mom. ln fact, while
many things have changed, t'm surprised that relatively few things changed in regards
to his normal routines and even his work ethic. Even with how bleak things were, he did
all he could to lift our spirits, even just a little.
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         Now I       not a medical expert. Nor an expert in human behavior, or much of
anything           But as someone who has been with him night and day for nearly a
decade, l'd                myself an honorary Master's degree in the field of Jason Richard
Heider. F       where I stand, Jason is a victim of Mr. Woods just as much as the children
that has              himsetf with. The term "seduction" comes to mind with Mr. Woods'
Going from           to there, collecting the lost and neglected. Whispering hollow cOmforts
to them,        murmuring empty promises or comfort and community to any that would
listen. From          Iittle l've been told of him, he is an arrogant man who seems to think
that he is i           on the right side, and can do whatever he wants. However, the only
comfort I          in regards to Mr. Woods is the knowledge that the justice system will do
what does           put him away somewhere to be forgotten, most especially by those who
have              from him.
                 two men are not my only concern though, dear reader. But for the poor
boys that           so unfortunate to be caught up in these happenings. My heart was hurt
all over          to hear of the young boys that ended up caught up in this situation, like
flies caught a spider's web. What did they go through? VUhat terrible things were done
to them to make them believe that what was happening to them was something was in
any way acceptable? These are questions that we may never have answers to. My
thoughts, prayers, and intentions are with those boys and it is my greatest hope that
those Uoys fre given opportunities to heal, grow up, and go on to have normal and
successful lives. lf that is the greatest good that can come out of all of this, then that is
 enough.
         Lastly, once again and forever more, I beg of the court's mercy on my husband's
 behalf. He has shown remorse and regret for his actions and only wants to make things
 right for himself and the other victims of Mr. Woods. Jason wants to become better, for
 his own sake if nothing else. Please, dear judge, I ask you to meet him haltway and help
 make his idea of a reformed crimina! a reality, to help him become a better person.



       Warmest Regards

       David Joseph Heider
